Case 23-40709   Doc 70-4 Filed 01/16/24 Entered 01/16/24 13:03:39   Desc Exhibit
                  D - MA Certificate of Withdrawal Page 1 of 3




                           Exhibit D
 Case 23-40709         Doc 70-4 Filed 01/16/24 Entered 01/16/24 13:03:39                          Desc Exhibit
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-NOV. MA SOC 3 Filing Number:
      llek.9p                  200701080710
                      NurrIrr:6??p273911p0710 , Date:
                                                Date: 11/20/2007   3:19 PM
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                                                                           E. 7795                       P.




                                   CERTIFICATE OF WITHDRAWAL
                             OF A FOREIGN LIMITED LIABILITY COMPANY

                 (Under Section 53 of the Massachusetts Limi₹ed Liability Company Act)

     To the State Secretary                               Federal Employer
     Commonwealth of Massachusetts                        Identification Number
                                                          XX-XXXXXXX

                     It is hereby certified that:

                     1. The name of the limited liability company (the "company") is Westborough SPE
     LLC.

                     2. The jurisdiction where the company was organized is Delaware.

                    3. The address of the principal office of the company, wherever located, is' 2
     Harrison Street, 6°' Floor, San Francisco, CA 94105.

                4. The name and the business address of the registered agent of the company in the
     Commonwealth of Massachusetts is 84 State Street Boston MA 02109.

                5. The company is withdrawing because it is not doing business in the
     Commonwealth of Massachsetts.

                     6. All fees and taxes owed by the company have been paid or provided for.

            IN WITNESS WHEREOF AND UNDER ITIE PENALTIES OF PERJURY, the
     undersigned does hereby affirm and swear, ₹hat to the undersigned's knowledge and belief the
     foregoing statements are true as of this 19th day of November 2007.



            Dya.na        e, A thorized erson




                                                     MA LI, F-:CERTIFICATE OF wirmizAwALospas 7 (MALLWITH)
     MA SOC
    Case 23-40709Filing
                    Doc Number:
                        70-4 Filed200701080710          Date: 11/20/2007
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                                                                              Exhibit
                       D - MA Certificate of Withdrawal Page 3 of 3




                         THE COMMONWEALTH
                         THE              OF MASSACHUSETTS
                             COMMONWEALTH OF MASSACHUSETTS



           hereby certify
         I hereby certify that,
                          that, upon examination of
                                upon examination of this
                                                    this document,
                                                         document, duly
                                                                   duly submitted
                                                                        submitted to
                                                                                  to me,
                                                                                     me, it
                                                                                         it appears
                                                                                            appears

         that the provisions of the General Laws relative to corporations have been complied with,

             and II hereby
             and    hereby approve
                           approve said
                                   said articles;
                                        articles; and
                                                  and the
                                                      the filing fee
                                                                 fee having
                                                                     having been
                                                                            been paid,
                                                                                 paid, said
                                                                                       said articles
                                                                                            articles are
                                                                                                     are

                                      deemed to
                                      deemed to have
                                                have been
                                                     been filed
                                                          filed with
                                                                with me
                                                                     me on:
                                                                        on:
                                             November 20, 2007 3:19 PM




                                         WILLIAM FRANCIS GALVIN
                                                 FRANCIS GALVIN

                                         Secretary of
                                         Secretary of the
                                                      the Commonwealth
                                                          Commonwealth




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